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14

15

16                              UNITED STATES DISTRICT COURT

17                             NORTHERN DISTRICT OF CALIFORNIA

18                                 SAN FRANCISCO DIVISION

19 UNITED STATES OF AMERICA,                      Case No. 3:2-cr-00249-RS-LBx
20
                  Plaintiff,                      DECLARATION OF KERRIE C. DENT IN
21                                                SUPPORT OF DEFENDANT ROWLAND
           v.                                     MARCUS ANDRADE’S SUPPLEMENTAL
22                                                MEMORANDUM IN SUPPORT OF EX
     ROWLAND MARCUS ANDRADE,                      PARTE MOTION TO COMPEL
23
                                                  GOVERNMENT TO DISCLOSE
                  Defendant.
24                                                ATTORNEY INFORMATION AND TO
                                                  REFRAIN FROM RETURNING
25                                                ALEXANDER LEVIN’S DEVICES UNTIL
                                                  SUBPOENA IS SERVED
26
                                                  Judge: Hon. Laurel Beeler
27
                                                  Hearing: December 14, 2023, 9:30 a.m.
28
                                                  1
     DECLARATION OF KERRIE C. DENT ISO SUPPLEMENTAL                    CASE NO. 3:20-CR-00249-RS-LBx
     MEMORANDUM ISO MOTION REGARDING ALEXANDER LEVIN’S DEVICES
     Case 3:20-cr-00249-RS         Document 248-1         Filed 12/03/23     Page 2 of 3




            Kerrie C. Dent, counsel for Defendant Marcus Andrade, states as follows:
 1

 2          1.      I am one of the lawyers representing Defendant Marcus Andrade in the above-

 3 captioned matter. I have personal knowledge of the discovery disputes and related

 4 correspondence between the government and defense counsel and, if called as a witness in this

 5
     matter, could competently testify to the matters stated in this Declaration.
 6

 7          2.      On November 28, 2022, Mr. Andrade filed a Motion to Compel seeking, among

 8 other things, Mr. Levin’s devices. Following two rounds of briefing and two arguments, the

 9 Court ruled on April 7, 2023, that the government must produce Alexander Levin’s devices. The

10 government did not respond by producing the devices, but rather waited six weeks and then

11 produced four spreadsheets of “extractions” from Mr. Levin’s phone, making an argument – not

12
     made in any of the briefs or arguments before the Court’s ruling – that it did not lawfully
13
     possess the entire phone. Many messages on the spreadsheets were redacted without explanation
14
     and others referenced attachments that were neither visible nor accessible through links.
15
            3.      On November 2, 2023, following a hearing, the Court ruled that the government
16
     should provide an update no later than November 9 on whether Levin’s devices have been
17
     returned to Levin and, if not, whether it objects to doing so. After the hearing, I emailed the
18

19 government and requested that the government inform me as soon as it learns whether the

20 Southern District of New York or the FBI still had Levin’s devices, and, if so, whether they

21 planned to return them to Levin. I requested that, in the event the government has any devices

22 and will return them, it should notify us in advance of when, to whom, and where any device was

23 going to be returned to permit time to serve a subpoena for the returned device(s). The

24 government did not respond to my email.

25
            4.      Responding to the Court’s November 2, 2023 Order, on November 9, 2023, the
26
     government reported to the Court that (1) more than a year ago prosecutors in the Southern
27
     District of New York had asked Levin’s counsel where counsel wanted Levin’s devices to be
28
                                                      2
     DECLARATION OF KERRIE C. DENT ISO SUPPLEMENTAL                        CASE NO. 3:20-CR-00249-RS-LBx
     MEMORANDUM ISO MOTION REGARDING ALEXANDER LEVIN’S DEVICES
     Case 3:20-cr-00249-RS        Document 248-1          Filed 12/03/23      Page 3 of 3




 1 sent, but Levin’s counsel never responded and (2) in November 2023, Levin’s counsel asked the

 2 FBI to mail Levin’s devices to defense counsel’s office, “which FBI-New York has done or

 3
     intends to do shortly.” Dkt. #237. Like the government’s failure to respond to my request after
 4
     the November 2 hearing, the government’s November 9 response to the Court did not address
 5
     our proposal that the government return the phone “with advance notice to us so that we can
 6
     serve a subpoena for it on Mr. Levin or his counsel before the phone is returned.” We therefore
 7
     filed the motion now before the Court, asking for an order mandating that the government
 8
     disclose contact information for Levin’s lawyer and refrain from returning Levin’s devices until
 9

10 we have time to serve Levin or his lawyer with a subpoena for the devices.

11          5.      On November 22, 2023, the government emailed me the name and address of a

12 lawyer in New York City, who, it said, was representing Levin. Although I reached out to the

13 lawyer immediately and asked him if he would accept service of a subpoena for Levin’s devices,

14 he responded that he was “not sure” what the matter was about and that, because it was the day

15 before Thanksgiving, he wanted to wait until the following week to have a call.

16
            6.      I emailed the prosecutors on November 22 to remind them of my November 2
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     request that Levin’s devices not be returned to Levin or Levin’s counsel without an opportunity
18
     for us to serve a subpoena for the devices. Again, the government did not respond.
19
            7.      On November 29, the lawyer whose information was provided by the government
20
     informed us that he does not represent Levin and does not have Levin’s devices. I promptly
21
     reminded the government of our request that it not return Levin’s devices to Levin or his counsel
22

23 until we have had an opportunity to serve a supoena. Again, the government did not respond.

24
            I declare under penalty of perjury that the foregoing is true and correct, and that this
25
     declaration was executed on December 3, 2023 in Washington, District of Columbia.
26

27                                                     /s/ Kerrie C. Dent
                                                       KERRIE C. DENT
28
                                                      3
     DECLARATION OF KERRIE C. DENT ISO SUPPLEMENTAL                         CASE NO. 3:20-CR-00249-RS-LBx
     MEMORANDUM ISO MOTION REGARDING ALEXANDER LEVIN’S DEVICES
